                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 1 of 22 Page ID
                                                 #:12669



                      1 ALLEN MATKINS LECK GAMBLE
                         MALLORY & NATSIS LLP
                      2 DAVID   R. ZARO (BAR NO. 124334)
                        TIM C. HSU (BAR NO. 279208)
                      3 865 South Figueroa Street, Suite 2800
                        Los Angeles, California 90017-2543
                      4 Phone: (213) 622-5555
                        Fax: (213) 620-8816
                      5 E-Mail: dzaro@allenmatkins.com
                                thsu@allenmatkins.com
                      6
                        ALLEN MATKINS LECK GAMBLE
                      7 MALLORY & NATSIS LLP
                        EDWARD G. FATES (BAR NO. 227809)
                      8 600 West Broadway, 27th Floor
                        San Diego, California 92101
                      9 Phone: (619) 233-1155
                        Fax: (619) 233-1158
                     10 E-Mail: tfates@allenmatkins.com
                     11 Attorneys for Receiver
                        KRISTA L. FREITAG
                     12
                     13                     UNITED STATES DISTRICT COURT
                     14                    CENTRAL DISTRICT OF CALIFORNIA
                     15                               WESTERN DIVISION
                     16     SECURITIES AND EXCHANGE          Case No. CV-14-2334-JFW-MRW
                            COMMISSION,
                     17               Plaintiff,             NOTICE OF MOTION AND MOTION
                                                             TO CONCLUDE RECEIVERSHIP
                     18          v.                          AND FOR ORDER:
                            WORLD CAPITAL MARKET INC.;       (1) AUTHORIZING RECEIVER TO
                     19     WCM777 INC.; WCM777 LTD. d/b/a   MAKE FINAL DISTRIBUTIONS TO
                            WCM777 ENTERPRISES, INC.; and    APPROVED CLAIMANTS AND
                     20     MING XU a/k/a PHIL MING XU,      ESTABLISH RESERVE;
                                                             (2) APPROVING FINAL
                     21               Defendants,            ACCOUNTING AND REPORT;
                            KINGDOM CAPITAL MARKET, LLC; (3)     APPROVING DISPOSITION OF
                                                             BOOKS    AND RECORDS; AND
                     22     MANNA HOLDING GROUP, LLC;
                            MANNA SOURCE                     (4) CONDITIONALLY
                     23     INTERNATIONAL, INC.;             DISCHARGING RECEIVER;
                            WCM RESOURCES, INC.; AEON        RECEIVER'S FINAL ACCOUNTING
                     24     OPERATING, INC.; PMX             AND REPORT
                            JEWELS, LTD.; TOPACIFIC INC.;    Date: October 1, 2018
                     25     TO PACIFIC INC.; VINCENT J.
                            MESSINA; and INTERNATIONAL       Time: 1:30 p.m.
                     26     MARKET VENTURES,                 Ctrm: 16
                                                             Judge: Hon. John F. Walter
                     27               Relief Defendants.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 2 of 22 Page ID
                                                 #:12670



                      1               TO THE HONORABLE JOHN F. WALTER, JUDGE OF THE UNITED
                      2 STATES DISTRICT COURT, AND ALL INTERESTED PARTIES:
                      3               PLEASE TAKE NOTICE that on October 1, 2018, at 1:30 p.m. in
                      4 Courtroom 16 of the above-entitled Court, located at 350 W. 1st Street, Los Angeles,
                      5 California 90012, Krista L. Freitag ("Receiver"), the Court-appointed permanent
                      6 receiver for Defendants World Capital Market Inc.; WCM777 Inc.; WCM777 Ltd.
                      7 d/b/a WCM777 Enterprises, Inc.; and Relief Defendants Kingdom Capital
                      8 Market, LLC; Manna Holding Group, LLC; Manna Source International, Inc.; WCM
                      9 Resources, Inc.; ToPacific Inc.; To Pacific Inc.; and their subsidiaries and affiliates
                     10 (collectively, "Receivership Entities"), will and hereby does move the Court to
                     11 conclude the receivership and for an order, (1) authorizing Receiver to make final
                     12 distributions to approved claimants and establish a reserve; (2) approving the final
                     13 accounting and report; (3) approving disposition of books and records; and
                     14 (4) conditionally discharging the Receiver ("Motion"). The Receiver and her
                     15 counsel, Allen Matkins, have filed their fee applications concurrently herewith. The
                     16 Motion and all relevant pleadings are available at the Receiver's website,
                     17 www.worldcapitalmarketreceivership.com.
                     18               Procedural Requirements: If you oppose this Motion, you are required to
                     19 file your written opposition with the Office of the Clerk, United States District Court,
                     20 350 W. 1st Street, Los Angeles, California 90012, and serve the same on the
                     21 undersigned not later than 21 calendar days prior to the hearing.
                     22               IF YOU FAIL TO FILE AND SERVE A WRITTEN OPPOSITION by the
                     23 above date, the Court may grant the requested relief without further notice. This
                     24 Motion is made following the conference of counsel pursuant to L.R. 7-3.
                     25 Dated: August 21, 2018                         ALLEN MATKINS LECK GAMBLE
                                                                        MALLORY & NATSIS LLP
                     26
                                                                       By:        /s/ David R. Zaro
                     27                                                      DAVID R. ZARO
                                                                             Attorneys for Court-appointed
                     28                                                      Receiver KRISTA L. FREITAG
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 3 of 22 Page ID
                                                 #:12671


                                                                      TABLE OF CONTENTS
                      1
                                                                                                                                             Page
                      2
                      3 I.            RECEIVER'S FINAL ACCOUNTING AND REPORT ................................ 1
                      4               A.       Background and Business Assessment ................................................. 1
                      5               B.       Receiver's Forensic Accounting ............................................................ 3
                      6               C.       Asset Disposition and Recovery ........................................................... 4
                      7               D.       Receiver Reporting and Communications ............................................ 5
                      8               E.       Receivership Accounting ...................................................................... 6
                      9               F.       Claims, Interim Distribution Process, and Epiq Fees ........................... 8
                     10 II.           CLOSING MATTERS .................................................................................. 10
                     11               A.       Distribution to Approved Claimants, Administrative
                                               Expenses, and Establishment of Reserve ............................................ 10
                     12
                                               1.       Establishment of Reserve ......................................................... 12
                     13
                                               2.       Proposed Distributions.............................................................. 13
                     14
                                      B.       Destruction of Records........................................................................ 14
                     15
                                      C.       Discharge of Receiver ......................................................................... 14
                     16
                            III.      ARGUMENT ................................................................................................ 15
                     17
                                      A.       Broad Equitable Powers of the Court ................................................. 15
                     18
                                      B.       Conclusion of Receivership and Discharge of Receiver .................... 16
                     19
                            IV.       CONCLUSION ............................................................................................. 17
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                               (i)
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 4 of 22 Page ID
                                                 #:12672


                                                               TABLE OF AUTHORITIES
                      1
                                                                                                                                Page(s)
                      2
                            Cases
                      3
                            Commodities Futures Trading Comm'n. v. Topworth Int'l, Ltd.,
                      4         205 F.3d 1107 (9th Cir. 1999) ....................................................................... 13
                      5 First Empire Bank-New York v. FDIC,
                               572 F.2d 1361 (9th Cir. 1978) ....................................................................... 14
                      6
                        SEC v. Capital Consultants, LLC,
                      7        397 F.3d 733 (9th Cir. 2005) ......................................................................... 13
                      8 SEC v. Elliot,
                               953 F.2d 1560 (11th Cir. 1992) ..................................................................... 13
                      9
                        SEC v. Hardy,
                     10        803 F.2d 1034 (9th Cir. 1986) ................................................................. 13, 14
                     11 SEC v. Wencke,
                               622 F.2d 1363 (9th Cir. 1980) ....................................................................... 12
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                         (ii)
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 5 of 22 Page ID
                                                 #:12673



                      1                              MEMORANDUM OF POINTS AND AUTHORITIES
                      2               Krista Freitag, the Court-appointed Receiver herein, respectfully submits this
                      3 Memorandum of Points and Authorities in Support of her motion to conclude the
                      4 receivership and: (1) authorizing the Receiver to make final distributions to approved
                      5 claimants and establish reserve; (2) approving the final accounting and report;
                      6 (3) approving disposition of books and records; and (4) conditionally discharging the
                      7 Receiver ("Motion"). The Receiver and her counsel have filed their fee applications
                      8 concurrently herewith.
                      9               The Receiver has completed management of all assets of the receivership
                     10 estate. The Receiver recovered a total of $38.002 million and spent approximately
                     11 $7.389 million on preservation and maintenance of assets (includes $51,431 of
                     12 anticipated non-administrative expenses to be incurred), for an anticipated net
                     13 recovery of approximately $30.613 million. The Receiver’s fees and costs, if all fee
                     14 applications are approved, amount to approximately $2.279 million, or about 6% of
                     15 the total recovery. Administrative fees and costs for the Receiver’s counsel amount
                     16 to approximately $2.021 million, or about 5% of the total recovery. If all fee
                     17 applications are approved, the Receiver will distribute about 84% of the total net
                     18 recovery to investors under the distribution plan approved by the Court on
                     19 November 28, 2016 (the “Distribution Plan”), or about $25.779 million. Investors
                     20 with approved claims will recover about 49.4 cents for each dollar invested.
                     21               The relief sought herein will allow the Receiver to take the remaining steps
                     22 necessary to conclude the receivership, including making final distributions to
                     23 approved claimants.
                     24                         I.     RECEIVER'S FINAL ACCOUNTING AND REPORT
                     25                    A.        Background and Business Assessment
                     26               On March 27, 2014, the Commission filed a Temporary Restraining Order
                     27 ("TRO") and the Court appointed Krista L. Freitag ("Receiver") temporary receiver
                     28 for Defendants World Capital Market Inc. ("WCM"), WCM777 Inc. ("WCM777"),
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 6 of 22 Page ID
                                                 #:12674



                      1 and WCM777 Ltd. d/b/a WCM777 Enterprises, Inc. ("WCM777 Enterprises"), and
                      2 Relief Defendants Kingdom Capital Market, LLC ("KCM"), Manna Holding
                      3 Group, LLC ("MHG"), Manna Source International, Inc. ("MSI"), WCM
                      4 Resources, Inc. ("WCM Resources"); and their subsidiaries and affiliates.
                      5               Pursuant to the TRO and law governing federal equity receivers, the Receiver
                      6 was charged with, among other things, (1) assuming control over the Receivership
                      7 Entities and their assets ("Receivership Assets"), (2) performing an accounting of the
                      8 assets and financial condition of the Receivership Entities, (3) investigating, locating,
                      9 and recovering Receivership Assets, and (4) preparing reports for the Court.
                     10               Promptly upon her appointment, the Receiver took possession of the
                     11 Receivership Entities, including the primary business locations located at 150 South
                     12 Los Robles Avenue, Suite 900, Pasadena, California and 3620 Cypress Avenue,
                     13 El Monte, California. It was believed the Receivership Entities were also operating
                     14 out of 1218 John Reed Court, City of Industry, California; however, this location had
                     15 been vacated. Upon takeover, the Receiver secured the Receivership Assets,
                     16 including bank accounts, real and personal property, books, records, domains,
                     17 computers and electronic devices, and WCM email accounts.
                     18               On April 10, 2014, the Court entered a Preliminary Injunction Order, which
                     19 included appointment of the Receiver on a permanent basis. Dkt. No. 33. On
                     20 May 21, 2014, the Court entered a Preliminary Injunction Order against additional
                     21 Relief Defendants Vincent Messina ("Messina"), International Market Ventures
                     22 ("IMV"), ToPacific, Inc. and To Pacific, Inc., and expressly appointed the Receiver
                     23 for WCM affiliates ToPacific, Inc. and To Pacific, Inc. ("ToPacific Order"). Dkt.
                     24 No. 75. Hereinafter, the TRO, Preliminary Injunction Order, and ToPacific Order
                     25 will be collectively referred to as the "Appointment Orders." Hereinafter, the
                     26 Defendants and Relief Defendants placed into receivership by the Appointment
                     27 Orders are referred to collectively as the "Receivership Entities" or individually as a
                     28 "Receivership Entity."
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                -2-
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 7 of 22 Page ID
                                                 #:12675



                      1               While taking control over each of the business locations, the Receiver met
                      2 with and interviewed Phil Ming Xu, employees, consultants, and others who were
                      3 present at each location. These interviews, along with a review of WCM's email
                      4 accounts yielded significant information concerning a myriad of investments, loans,
                      5 and fund transfers made in the days and months leading up to the receivership
                      6 appointment.
                      7               Other than two golf courses, the Receiver's investigation quickly indicated that
                      8 none of the Receivership Entities generated any revenue from business operations.
                      9 Accordingly, the Receiver did not retain employees of the Receivership Entities
                     10 other than golf course employees, and promptly pursued recovery of the various
                     11 investments, loans and fund transfers.
                     12               Through diligent and timely efforts, the Receiver was able to generate
                     13 significant value for the estate through the marketing and Court-approved sales of the
                     14 real and personal property assets, and recovery of various other investments and
                     15 transfers.
                     16               On May 16, 2018, the Securities and Exchange Commission and the Receiver
                     17 stipulated to entry of Judgment against the Receivership Entities. Dkt. No. 571. The
                     18 Final Judgment was entered on May 17, 2018. Dkt, No. 572.
                     19                    B.   Receiver's Forensic Accounting
                     20               The Receiver was ordered to "make an accounting, as soon as practicable, to
                     21 this Court of the assets and financial condition of the Receivership Entities and to file
                     22 the accounting with the Court and deliver copies thereof to all parties." On
                     23 February 27, 2015 (Dkt. No. 302), the Receiver filed her Forensic Accounting
                     24 Report, which reflected analysis of 77 domestic and 23 foreign bank accounts.
                     25               The overarching findings were as follows: (1) The Receivership Entities'
                     26 primary source of income was investor deposits, which was also the primary source
                     27 of virtually all funds distributed to the investors; (2) The vast majority of the
                     28 Receivership Entities' business activities revolved around raising and distributing
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                 -3-
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 8 of 22 Page ID
                                                 #:12676



                      1 investor funds; and (3) Investor funds were so materially commingled between and
                      2 among the Receivership Entities that the entities operated as a unitary enterprise,
                      3 rather than as separate entities.
                      4               The Receiver's forensic accounting work as of February 27, 2015 showed
                      5 investor net losses of approximately $80.8 million (approximately $99.4 million was
                      6 received from investors and approximately $18.6 million distributed to investors).
                      7 As of that date, $57.2 million of investor deposits had been verified, while
                      8 $44.5 million of deposits remained uncategorized because source data had not yet
                      9 been obtained for the foreign bank accounts.
                     10               Subsequent to publishing the Forensic Accounting Report, the Receiver was
                     11 able to obtain the underlying source data and verify that $42.2 million of the
                     12 $44.5 million of the previously uncategorized deposits were investor deposits –
                     13 resulting in total verified investor deposit amount of $99.4 million.
                     14               The forensic accounting data was used to validate claims and as a foundation
                     15 for the Receiver’s distribution plan. It was also used to complete pre-receivership
                     16 tax returns for the Receivership Entities, and for the receivership estate's Qualified
                     17 Settlement Fund (QSF) entity.
                     18                    C.   Asset Disposition and Recovery
                     19               Pre-receivership, the Receivership Entities used investor funds to make
                     20 investor payments, pay operating expenses, and make offshore fund transfers. In
                     21 addition, they purchased real and personal property, made investments, and
                     22 transferred money to insiders and third parties.
                     23               The Receiver recovered a total of approximately $38.0 million from three
                     24 major sources of revenue: (1) $10.5 million from Court-approved sales of real
                     25 property, (2) $22.2 million from other investments and transfers, and (3) $5.3 million
                     26 of revenue from operations of two golf courses.
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                 -4-
                 Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 9 of 22 Page ID
                                                 #:12677



                      1               The table below summarizes the recoveries:
                      2
                                Table 1: Total Revenues from all Sources
                      3         Sales of Real Property
                      4                                                                                    $10,499,047
                                                         Glen Ivy Golf Course in Corona,       4,123,816
                      5                                  CA (includes water deposit)
                                                         Residence: 710 Arabian Lane,          2,334,617
                      6                                  Walnut, CA
                                                         Warehouse: 3620 Cypress               1,490,155
                      7                                  Avenue, El Monte, CA
                      8                                  Residence: 3607 Elfwood Drive,         957,333
                                                         Monrovia, CA
                      9                                  Golf Course in Lake Elsinore, CA       675,809
                                                         (includes liquor license)
                     10                                  Vacant Land in New Cuyama, CA          492,275
                     11                                  Residence: 16114 Grand Avenue,         425,042
                                                         Lake Elsinore, CA
                     12         Other Investments
                                and Transfers                                                              $22,246,650
                     13                                  Cash in Accounts at Takeover          2,242,756
                                                         Cash recoveries (includes Horsman
                     14
                                                         Law Firm recovery)                   13,300,066
                     15                                  Vincent J. Messina                    2,133,214
                                                         Sue Wang, et al.                      1,205,000
                     16                                  Frequency Networks, Inc.              1,000,002
                                                         Myco Technology                         750,000
                     17
                                                         Daniel John Lazarus                     750,000
                     18                                  Sales of Personal Property              340,498
                                                         James Dantona, Governmental
                     19                                  Impact, Zayda Aberin, ZHB
                                                         International                          271,000
                     20                                  Miscellaneous (legal retainers,
                     21                                  office deposits, insurance claims,
                                                         interest)                              229,114
                     22                                  WCM Resources                           25,000
                                Golf Course Revenue                                                         $5,256,659
                     23                                  Gross revenue                         5,256,659
                     24
                                Total Recovery                                                              38,002,356
                     25
                     26                D.    Receiver Reporting and Communications
                     27               At the beginning of the receivership, the Receiver established a dedicated web
                     28 page, which has provided case information, updates, and answers to frequently asked
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                   -5-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 10 of 22 Page ID
                                                #:12678



                      1 questions to investors and creditors. The internet address for the webpage is
                      2 www.worldcapitalmarketreceivership.com. The Receiver also maintained a
                      3 dedicated email address and telephone line for investor inquiries. Case updates often
                      4 triggered voluminous investor inquiries, so the Receiver's staff regularly returned a
                      5 significant volume of emails and phone calls in both English and Spanish. In view of
                      6 the volume of calls and correspondence, the Receiver utilized associates at lower
                      7 billing rates to handle the majority of these communications.
                      8               The Receiver also filed detailed quarterly fee applications and accounting
                      9 reports that kept investors and the Court advised as to the amount of money
                     10 recovered, the financial position of the receivership estate, and efforts to recover
                     11 funds for the benefit of investor victims.
                     12                    E.   Receivership Accounting
                     13               The following summary reflects the Receivership Entities' consolidated
                     14 operating cash balance as of June 30, 2018:
                     15         Table 2: Operating Cash Balance Summary
                     16         Total Revenues                                                               38,002,356
                                Disbursements (Non-
                     17         Administrative)                                                              (7,337,914)
                                                         Golf Course Operational Expenses      6,821,095
                     18
                                                         Real & Personal Property                363,155
                     19                                  Expenses (Non-Golf)
                                                         WCM One-Time Payroll &                   46,809
                     20                                  Related
                                                         WCM Moving & Storage                     23,315
                     21                                  Other Miscellaneous Expenses             83,540
                     22         Disbursements
                                (Administrative)                                                             (3,722,972)
                     23                                  Epiq - Claims Process (incl.            410,179
                                                         Notice Publication)
                     24                                  Receiver Legal Fees & Expenses        1,590,927
                     25                                  Receiver Fees & Expenses              1,721,866
                                Interim Distributions
                     26         (net)                                                                       (17,489,156)
                                                         Investor Claim Distribution
                     27                                                                      (21,000,000)
                                                         (authorized initial distribution)
                                                         Check Disbursements Cashed           16,294,534
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                     -6-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 11 of 22 Page ID
                                                #:12679


                                                        PayPal & Electronic Payments
                      1                                 Claimed
                                                                                            1,187,042

                      2                                 PayPal Fees Paid                        7,580
                                Cash on Hand as of
                      3         June 30, 2018                                                              9,452,314

                      4
                                       F.    Claims, Interim Distribution Process, and Epiq Fees
                      5
                                      For a myriad of reasons as discussed throughout this case, the claims and
                      6
                            distribution process has been one of the Receiver's most challenging tasks. This was
                      7
                            due to, (a) the lack of a comprehensive investor database, (b) the large volume of
                      8
                            secondary market transactions whereby funds could not be traced to the Receivership
                      9
                            Entities, (c) the large number of cash transactions with no substantiating support,
                     10
                            (d) the investors' misunderstanding of WCM777 and Kingdom points issued (which
                     11
                            was not an actual dollar investment), and (e) the global geographic reach of the
                     12
                            scheme. The Receiver worked diligently and creatively to arrive at a claims process
                     13
                            that fairly evaluated the claims.
                     14
                                      On July 13, 2015, the Court granted the Receiver's motion for approval of the
                     15
                            claims process, setting the deadline to submit claims to the Receiver as November 9,
                     16
                            2015, which deadline was later extended to December 24, 2015. The Receiver
                     17
                            worked with the Court-approved claims administrator, Epiq, to implement Phase I of
                     18
                            the approved claim process, which resulted in receipt of over 35,000 claims
                     19
                            representing over 72,000 claimed investments.
                     20
                                      Upon assessing and analyzing the voluminous Phase I claims data, the
                     21
                            Receiver prepared her report on Phase I of the claims process and recommendation
                     22
                            regarding Phase II, which was filed and approved by the Court on March 11, 2016
                     23
                            (Dkt. Nos. 427, 430).
                     24
                                      On November 28, 2016, the Court entered the Amended Order: (a) Sustaining
                     25
                            Omnibus and Specific Objections to Claims, (b) Approving Proposed Allowed
                     26
                            Amounts of Claims, and (c) Approving Distribution Plan and Authorizing Receiver
                     27
                            to Make Interim Distributions ("Claims Order"). Dkt. No. 522. Upon entry of the
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                 -7-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 12 of 22 Page ID
                                                #:12680



                      1 Claims Order, the Receiver commenced working with Epiq to process the Court-
                      2 approved interim distributions.
                      3               In February 2017, the initial $21 million interim distribution was initiated via
                      4 check and PayPal, depending on the selection of each allowed claimant. A total of
                      5 3,912 checks and 462 PayPal payments were initiated. Given the geographic
                      6 diversity of claimants, challenges surfaced with claimants being able to negotiate
                      7 their checks – from inability to negotiate a check written on a United States bank
                      8 account, to claimants waiting until insufficient time existed for foreign banks to clear
                      9 a check written on a United States bank account, to misplaced checks, to claimants
                     10 unwillingness to provide updated address information (possibly due to immigration
                     11 concerns), to undeliverable addresses (e.g., claimants did not provide apartment
                     12 numbers).
                     13               The Receiver worked with Epiq and the investors to troubleshoot these
                     14 challenges and to get as many payments as possible negotiated and claimed. To that
                     15 end, a translated email reminder was sent to all allowed claimants whose payments
                     16 remained outstanding in early April 2017. An additional email went out in July 2017
                     17 requesting updated contact information from claimants whose payments remained
                     18 outstanding. In light of a significant number of responses, Epiq and the Receiver
                     19 reissued interim distribution payments, ultimately providing until November 9, 2017,
                     20 to negotiate them.
                     21               The Receiver has successfully made a total of $17,489,156 of interim
                     22 distributions and will be reissuing $755,223 of interim distributions, which
                     23 respectively represent 83.3% and 3.6% of the $21 million approved interim
                     24 distribution.1 Investors who successfully negotiated their interim distribution
                     25     1
                                 Regarding the $755,223 of interim distributions to be reissued, as the Receiver
                     26          proceeded with the interim distribution processes, voluminous communications
                                 occurred with approved claimants who were unable to negotiate their payments.
                     27          Over time, the Receiver received updated contact or payment information from
                                 approved claimants. Interim distribution payments were then primarily reissued
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                  -8-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 13 of 22 Page ID
                                                #:12681



                      1 payments, including those receiving checks as part of the reissuance of $755,223 of
                      2 interim distributions, will be sent a final distribution – said investors are located in
                      3 dozens of different countries.
                      4                                    II.    CLOSING MATTERS
                      5               A.    Establishment of Reserve, Payment of Administrative
                      6                     Expenses and Proposed Final Distribution
                      7                     1.     Establishment of Reserve
                      8               As reflected in the table below, the Receiver seeks authority to set aside funds
                      9 in reserve to pay non-administrative expenses in the amount of $51,431 and
                     10 projected administrative expenses to conclude the receivership of up to $190,765, for
                     11 a total reserve amount of $242,196.
                     12                     2.     Administrative Expenses
                     13               As also reflected in the table below, the Receiver seeks approval of payment of
                     14 administrative expenses incurred, not yet paid in the amount of $144,790 and
                     15 holdbacks in the amount of $775,146, for a total of $919,936.
                     16                     3.     Proposed Final Distribution
                     17
                                      As of June 30, 2018, the Receiver was holding cash in the total amount of
                     18
                            $9,452,314 and anticipates additional interest income of $310, bringing cash
                     19
                            available for the proposed final distribution to $9,452,624. Provided the Court
                     20
                            approves the $242,196 of reserve funds ($51,431 of non-administrative expenses,
                     21
                            plus $190,765 of projected administrative expenses), the payment of administrative
                     22
                            fees in the amount of $919,936 ($144,790 incurred and not yet paid, plus $775,146
                     23
                            of holdbacks), and after payment of the $755,223 of interim distributions to be re-
                     24
                     25          in one large batch. Some updated information from investors, however, was
                                 received after the reissuance of interim distribution payments. These interim
                     26          distribution payments have been held by the Receiver. In order to reissue said
                                 payments in a cost-effective way, the Receiver determined reissuing said
                     27          payments together with final distribution payments would maximize efficiency.
                                 Therefore, the total amount of interim distributions which will now be reissued is
                     28          $755,223.
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                  -9-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 14 of 22 Page ID
                                                #:12682



                      1 issued, $7,535,269 will be available for final distributions to approved claimants in
                      2 accordance with this Court's Claims Order.
                      3               The breakdown of cash on hand, as well as the interim distributions to be re-
                      4 issued, the reserve, and administrative expenses, is as follows:
                      5         Table 3: Reserve, Administrative Expenses, Final Distribution Summary
                      6         Cash Available for
                                Final Distribution                                                         9,452,624
                      7         before Reserve and
                                Administrative Costs
                      8                                 Operating Cash on Hand 6/30/18       9,452,314
                      9                                 Projected Interest Income Net of           310
                                                        Bank Fees
                     10         Interim Distribution
                                Payments to be                                                             (755,223)
                     11         Reissued
                     12         Disbursements (Non-
                                Administrative                                                               (51,431)
                     13         RESERVE)
                                                        Projected Final Tax and Return          25,431
                     14                                 Preparation Fees
                                                        Projected Storage and Document           1,000
                     15                                 Destruction Fees
                     16                                 Contingency                             25,000
                                Disbursements
                     17         (Administrative                                                            (190,765)
                                RESERVE) –
                     18         Projected Fees and
                     19         Expenses
                                                        Projected Receiver Fees and             88,063
                     20                                 Expenses
                                                        Projected Receiver Legal Fees and       30,000
                     21                                 Expenses
                                                        Projected Epiq Fees and Expenses        72,702
                     22         Disbursements
                     23         (Administrative) –                                                         (144,790)
                                Fees and Expenses
                     24         Incurred, Not Yet
                                Paid
                     25                                 Receiver Fees Incurred (Q4 2017         67,032
                                                        to Q2 2018)
                     26
                                                        Receiver Legal Fees Incurred (Q4        27,545
                     27                                 2017 to Q2 2018)
                                                        Epiq Fees Incurred                      50,213
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                  -10-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 15 of 22 Page ID
                                                #:12683


                                Disbursements
                      1         (Administrative) –                                                         (775,146)
                      2         Holdbacks
                                                          Receiver 20% Holdback from
                                                                                              402,326
                      3                                   Interim Fee Applications
                                                          Receiver Legal 20% Holdback
                      4                                                                       372,820
                                                          from Interim Fee Applications
                      5         Projected Cash
                                Available for Final                                                        7,535,269
                      6         Distribution

                      7               As noted above, all approved claimants who successfully negotiated their
                      8 interim distributions, will now receive a revised prorated amount as part of the final
                      9 distribution. This is because, pursuant to the Distribution Plan, the claims of
                     10 claimants who do not negotiate their interim distribution payments within 90 days
                     11 and who cannot be located through a reasonable investigation are automatically and
                     12 permanently extinguished. Dkt. No. 477-1, Exhibit E, p. 4. Therefore, investors who
                     13 submitted claims, but did not negotiate their interim distribution payments and did
                     14 not respond to efforts to contact them will not participate in the final distribution
                     15 because their claims have been extinguished under the Distribution Plan.
                     16               Pursuant to the Distribution Plan, in the event any approved claimants have not
                     17 negotiated their final distribution check(s) and/or there are funds remaining in the
                     18 Reserve account after 120 days after issuance of the final distribution has passed,
                     19 then the Receiver shall pay such funds to the Commission for turnover to the United
                     20 States Treasury.
                     21                    B.   Destruction of Records
                     22               The Receiver presently stores minimal files, records for the Receivership
                     23 Entities' operations, personnel files, investor files, and miscellaneous documents, and
                     24 electronic records. Typically, the Receiver would destroy all records at the close of a
                     25 receivership. In this instance, the Receiver seeks approval to turn such books and
                     26 records over to the United States Attorney's Office ("USAO") for use in the pending
                     27 criminal matter against Mr. Phil Ming Xu and to destroy the remaining files and
                     28 delete all digital records. The Receiver proposes to give the USAO 60 days to make
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                   -11-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 16 of 22 Page ID
                                                #:12684



                      1 a decision as to what, if any, records they wish to take. The balance of the records
                      2 will be destroyed.
                      3                    C.   Discharge of Receiver
                      4               The Receiver has successfully completed all work required under the
                      5 Appointment Orders. The Receivership Entities' assets were marshalled, protected,
                      6 and successfully monetized, the accounting was completed, and the claims of
                      7 investors and others were adjudicated. As such, it is appropriate for the Receiver to
                      8 ask the Court to enter an order discharging her upon the following conditions:
                      9               1.        The Receiver shall cause the final distribution to approved claimants to
                     10 be completed in accordance with the Claims Order and Distribution Plan;
                     11               2.        The Receiver shall complete the tasks outlined in this Motion, including
                     12 the preparation of tax returns and payment of taxes, and the payment of actual fees
                     13 and expenses of the Receiver and her professionals;
                     14               3.        In accordance with the Distribution Plan, following 120 days after the
                     15 final distribution to claimants, the Receiver shall turn over to the Commission any
                     16 balance of funds; and
                     17               4.        Within 180 days after the final distribution to approved claimants has
                     18 been made, the Receiver shall file a declaration with the Court providing a final
                     19 accounting regarding use of the Reserve funds, along with an order discharging the
                     20 Receiver ("Discharge Order"), in the form attached hereto as Exhibit A, which
                     21 Discharge Order may be entered by the Court without further notice or a hearing.
                     22                                            III.   ARGUMENT
                     23                    A.   Broad Equitable Powers of the Court
                     24               "The power of a district court to impose a receivership or grant other forms of
                     25 ancillary relief does not in the first instance depend on a statutory grant of power
                     26 from the securities laws. Rather, the authority derives from the inherent power of a
                     27 court of equity to fashion effective relief." SEC v. Wencke, 622 F.2d 1363, 1369
                     28 (9th Cir. 1980). The "primary purpose of equity receiverships is to promote orderly
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                    -12-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 17 of 22 Page ID
                                                #:12685



                      1 and efficient administration of the estate by the district court for the benefit of
                      2 creditors." SEC v. Hardy, 803 F.2d 1034, 1038 (9th Cir. 1986). As the appointment
                      3 of a receiver is authorized by the broad equitable powers of the Court, any
                      4 distribution of assets must also be done equitably and fairly. See SEC v. Elliot,
                      5 953 F.2d 1560, 1569 (11th Cir. 1992).
                      6               District courts have the broad power of a court of equity to determine the
                      7 appropriate action in the administration and supervision of an equity receivership.
                      8 See SEC v. Capital Consultants, LLC, 397 F.3d 733, 738 (9th Cir. 2005). As the
                      9 Ninth Circuit explained:
                     10                     A district court's power to supervise an equity receivership
                                            and to determine the appropriate action to be taken in the
                     11
                                            administration of the receivership is extremely broad. The
                     12                     district court has broad powers and wide discretion to
                                            determine the appropriate relief in an equity receivership.
                     13
                                            The basis for this broad deference to the district court's
                     14                     supervisory role in equity receiverships arises out of the
                                            fact that most receiverships involve multiple parties and
                     15
                                            complex transactions. A district court's decision
                     16                     concerning the supervision of an equitable receivership is
                                            reviewed for abuse of discretion.
                     17
                     18 Id. (citations omitted); see also Commodities Futures Trading Comm'n. v. Topworth
                     19 Int'l, Ltd., 205 F.3d 1107, 1115 (9th Cir. 1999) ("This court affords 'broad deference'
                     20 to the court's supervisory role, and 'we generally uphold reasonable procedures
                     21 instituted by the district court that serve the[e] purpose' of orderly and efficient
                     22 administration of the receivership for the benefit of creditors."). Accordingly, the
                     23 Court has broad equitable powers and discretion in the administration of the
                     24 receivership estate and disposition of receivership assets.
                     25        B.     Conclusion of Receivership and Discharge of Receiver
                     26               Federal District Courts presiding over federal equity receiverships have broad
                     27 power and wide discretion in the supervision of the same. SEC v. Hardy, 803 F.2d
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                 -13-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 18 of 22 Page ID
                                                #:12686



                      1 1034, 1037-38 (9th Cir. 1986). Their power and discretion includes the authority to
                      2 "make rules which are practicable as well as equitable." Id. at 1039 (quoting First
                      3 Empire Bank-New York v. FDIC, 572 F.2d 1361, 1368 (9th Cir. 1978)). In this case,
                      4 the Court's supervision of the receivership is guided by these same rules.
                      5               The Receiver has diligently carried out her Court-ordered duties, including
                      6 assuming control of enterprises, marshalling and selling assets, performing a forensic
                      7 accounting, pursuing claims, providing detailed reports to the Court, conducting a
                      8 very complicated claims process, and if this Motion and the fee applications filed
                      9 herewith are granted, ultimately distributing nearly $26 million. As there is no
                     10 further benefit to be gained from maintaining this receivership, the Receiver requests
                     11 that she be discharged and the case be closed, effective upon completion of the final
                     12 closing tasks as described in Section II above.
                     13               Effective upon completion of the closing tasks, the Receiver requests the
                     14 Discharge Order (attached hereto as Exhibit A) be entered, which order discharges
                     15 the Receiver and fully releases the Receiver and counsel of: (i) all duties under the
                     16 Appointment Orders, and (ii) any and all claims and liabilities associated with the
                     17 case and the Defendants. In addition, the Receiver asks the Court to approve and
                     18 ratify all actions taken by the Receiver and her professionals in the performance of
                     19 the Receiver's Court-ordered duties. The Receiver further requests the Court retain
                     20 exclusive jurisdiction over any and all new actions or claims related to the
                     21 receivership or work done by the Receiver and her professionals to carry out the
                     22 Receiver's Court-ordered duties. It is necessary and appropriate to issue the
                     23 requested "conditional" discharge order.
                     24 \\\
                     25 \\\
                     26 \\\
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                 -14-
                Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 19 of 22 Page ID
                                                #:12687



                      1                                       IV.    CONCLUSION
                      2               For the foregoing reasons, the Receiver respectfully requests the Court grant
                      3 the Motion and issue the proposed Discharge Order submitted herewith.
                      4
                      5 Dated: August 21, 2018                           ALLEN MATKINS LECK GAMBLE
                                                                          MALLORY & NATSIS LLP
                      6
                      7                                                  By:         /s/ David R. Zaro
                                                                                DAVID R. ZARO
                      8                                                         Attorneys for Receiver
                                                                                KRISTA L. FREITAG
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874406.01/SD                                 -15-
Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 20 of 22 Page ID
                                #:12688




                       EXHIBIT A
                                                                      Exhibit A
                                                                       Page 16
Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 21 of 22 Page ID
                                #:12689



   1
   2
   3
   4
   5
   6
   7
   8
   9
 10                     UNITED STATES DISTRICT COURT

 11                    CENTRAL DISTRICT OF CALIFORNIA

 12                              WESTERN DIVISION
       SECURITIES AND EXCHANGE          Case No. CV-14-2334-JFW-MRW
 13    COMMISSION,
                 Plaintiff,             [PROPOSED] ORDER
 14                                     DISCHARGING RECEIVER AND
            v.                          CLOSING RECEIVERSHIP
 15
       WORLD CAPITAL MARKET INC.;       Date: October 1, 2018
 16    WCM777 INC.; WCM777 LTD. d/b/a   Time: 1:30 p.m.
       WCM777 ENTERPRISES, INC.; and    Ctrm: 16
 17    MING XU a/k/a PHIL MING XU,      Judge: Hon. John F. Walter
                 Defendants,
 18
       KINGDOM CAPITAL MARKET, LLC;
 19    MANNA HOLDING GROUP, LLC;
       MANNA SOURCE
 20    INTERNATIONAL, INC.;
       WCM RESOURCES, INC.; AEON
 21    OPERATING, INC.; PMX
       JEWELS, LTD.; TOPACIFIC INC.;
 22    TO PACIFIC INC.; VINCENT J.
       MESSINA; and INTERNATIONAL
 23    MARKET VENTURES,
                 Relief Defendants.
 24
 25
 26
 27
 28
                                                                      Exhibit A
                                                                       Page 17
       873813.01/SD
Case 2:14-cv-02334-JFW-MRW Document 576 Filed 08/21/18 Page 22 of 22 Page ID
                                #:12690



   1             The Court having considered the Declaration of Krista L. Freitag Regarding
   2 Accounting of Reserve and Completion of Closing Tasks, and good cause appearing
   3 therefor, IT IS HEREBY ORDERED as follows:
   4             1.    The Receiver is discharged of all duties under the Temporary Restraining
   5 Order and Orders: (1) Freezing Assets; (2) Prohibiting the Destruction of Documents;
   6 (3) Granting Expedited Discovery; (4) Requiring Accountings; (5) Authorizing
   7 Alternative Service; (6) Repatriating Assets; and (7) Appointing a Temporary
   8 Receiver, and Order to Show Cause re Preliminary Injunction and Appointment of a
   9 Permanent Receiver entered by this Court on March 27, 2014 ("TRO") (Dkt. No. 14),
 10 the Preliminary Injunction, Appointment of a Permanent Receiver, and Related
 11 Orders entered by this Court on April 10, 2014 ("Preliminary Injunction Order") (Dkt.
 12 No. 33), and subsequent orders of the Court. Pursuant to the discharge, the Receiver
 13 is released from any and all claims and liabilities associated with the receivership, the
 14 receivership entities, and the individual defendants named in this action.
 15              2.    All actions taken by the Receiver and her professionals in performing the
 16 Receiver's Court-ordered duties under the TRO, Preliminary Injunction Order, and
 17 subsequent orders of the Court are approved and ratified.
 18              3.    The Receiver is discharged from any further responsibility for payment
 19 of liabilities of the Receivership Entities.
 20              4.    The receivership is closed.
 21              5.    Jurisdiction over all disputes, claims, and causes of action arising from or
 22 relating to this receivership case is reserved in this Court.
 23
 24
       Dated:
 25                                                  Hon. John F. Walter
                                                     Judge, United States District Court
 26
 27
 28
                                                                                     Exhibit A
                                                                                      Page 18
       873813.01/SD
